         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 1 of 40




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE
 COMMISSION,                                                   Civil Action No. 21-CV-____ (___)
                     Plaintiff,
     v.                                                        JURY TRIAL DEMANDED

 LUIS JIMENEZ CARRILLO, AMAR
 BAHADOORSINGH, JUSTIN ROGER
 WALL, and JAMIE SAMUEL WILSON,
                     Defendants,

 and

 HAYDEE YOLANDA SANCHEZ DIAZ
 MONGE, MARTHA Y. JIMENEZ
 TRUST, and CHARLES A. CARRILLO
 TRUST,

                           Relief Defendants.


                                          COMPLAINT

       Plaintiff, Securities and Exchange Commission (the “Commission”), alleges the

following against the defendants and relief defendants:

                                            SUMMARY

       1.      This is a securities fraud enforcement action. Defendant Luis Jimenez Carrillo

(“Carrillo”) engaged in multiple deceptive schemes to sell publicly traded stock to investors.

From at least 2013 through at least May 2019 (the “Relevant Period”), Carrillo defrauded

investors by concealing the fact that he, in concert with others, controlled the securities of

numerous publicly traded companies—including the securities of Aureus, Inc. (“Aureus”),

Garmatex Holdings, Ltd. (“Garmatex”), and OneLife Technologies Corp. (“OneLife”).
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 2 of 40



Defendants Amar Bahadoorsingh (“Bahadoorsingh”), Justin Roger Wall (“Wall”) and Jamie

Samuel Wilson (“Wilson”) were Carrillo’s partners in his scheme relating at least to Aureus.

       2.      Carrillo’s control of the securities of numerous publicly traded companies was the

linchpin of the fraudulent schemes. It enabled him secretly to sell millions of shares of those

companies’ securities: (a) without registering the offers or sales of stock with the Commission;

(b) without disclosing accurate information about his control over the companies; and (c) without

complying with limitations on the sale of stock by company “affiliates” like himself. Carrillo

also frequently sought to increase demand for the stock he and his associates were selling by

organizing and funding various promotional campaigns. His schemes usually followed a similar

pattern from company to company. Over the Relevant Period, Carrillo, working in coordination

with others, generated trading proceeds of more than $75 million from fraudulently selling the

securities of more than 30 issuers.

       3.      Bahadoorsingh partnered with Carrillo at least relating to the Aureus scheme. He

coordinated with Carrillo to sell Aureus securities without making required disclosures or

complying with the limitations on sales of stock by company affiliates. Wall and Wilson also

played critical roles in the Aureus scheme. They worked with Carrillo and Bahadoorsingh to

control Aureus’ securities, and coordinated with Carrillo and Bahadoorsingh secretly to take

ownership of Aureus securities without making required disclosures and to deposit those shares

for sale in brokerage accounts using false documentation. As a result of defendants’ scheme,

what appeared to be ordinary trading by unaffiliated investors was actually a massive dump of

shares orchestrated by Carrillo, Bahadoorsingh, Wall and Wilson, who were seeking to profit at

the expense of defrauded investors. Bahadoorsingh earned substantial profits from participating

in the Aureus scheme, and shared those profits with Carrillo.



                                                 2
           Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 3 of 40



       4.      A company is considered “public” when its securities trade on established

markets and the company discloses certain business and financial information regularly to the

investing public. Investors in certain public companies (including Aureus and OneLife) are

required to disclose publicly any ownership interest in excess of 5% of the company’s stock. All

of the defendants were thus required to disclose their direct or indirect control over more than

5% of the stock of Aureus, and Carrillo was also required to disclose his direct or indirect control

over more than 5% of the stock of OneLife and certain other public companies.

       5.      Defendants engaged in schemes to make it appear that the shares they actually

controlled were owned by multiple unaffiliated entities when, in reality, those entities were

holding the stock as nominees for the group of defendants acting in concert. Carrillo, acting in

concert with others (including Bahadoorsingh, Wall and Wilson on at least Aureus), typically

controlled virtually all of the stock available for trading (the “float”) for each company in his

schemes.

       6.      Carrillo also arranged to transfer the stock he controlled to at least two offshore

asset managers to conceal further his control over the shares. The two managers, Wintercap SA

(“Wintercap”) and Blacklight SA (“Blacklight”), were both Swiss companies whose business

focused on fraudulently concealing their clients’ control over large blocks of stock that they were

dumping into the public markets. Their business models extended beyond the defendants here.

Wintercap and Blacklight have been charged in two separate cases for their fraudulent operation

of illicit trading platforms for their clients. See SEC v. Knox, No. 18-cv-12058 (D. Mass., filed

Oct. 2, 2018) (charging Wintercap, its operator and others); SEC v. Bajic, et al., No. 20-cv-0007

(S.D.N.Y., filed Jan. 2, 2020) (charging Blacklight, its operators and some of its associates).




                                                  3
           Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 4 of 40



          7.    Wintercap and Blacklight deposited Carrillo’s stock in accounts at foreign and

United States brokerage firms, in blocks of shares constituting less than 5% of each company’s

outstanding shares. Through the brokerage firms, Wintercap and Blacklight then sold millions

of dollars of shares of Carrillo’s stock to unsuspecting investors. Frequently, these sales took

place at the same time as promotional campaigns that encouraged investors to purchase those

shares.

          8.    As a result of the conduct alleged herein, Carrillo violated, and unless restrained

and enjoined will continue to violate, Sections 5(a), 5(c), 17(a)(1) and (3) of the Securities Act of

1933 (“Securities Act”) [15 U.S.C. §§77e(a), (c), 77q(a)(1), (3)], Sections 10(b) and 13(d) of the

Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. §§78j(b), 78m(d)] and Rules 10b-

5(a) and (c) thereunder [17 C.F.R. §240.10b-5(a), (c)].

          9.    As a result of his conduct alleged herein relating at least to Aureus,

Bahadoorsingh violated, and unless restrained and enjoined will continue to violate, Sections

5(a), 5(c), 17(a)(1) and (3) of the Securities Act [15 U.S.C. §§77e(a), (c), 77q(a)(1), (3)],

Sections 10(b) and 13(d) of the Exchange Act [15 U.S.C. §§78j(b), 78m(d)] and Rules 10b-5(a)

and (c) thereunder [17 C.F.R. §240.10b-5(a), (c)].

          10.   As a result of their conduct alleged herein relating at least to Aureus, Wall and

Wilson violated, and unless restrained and enjoined will continue to violate, Sections 17(a)(1),

(2) and (3) of the Securities Act [15 U.S.C. §§77q(a)(1)-(3)], Sections 10(b) and 13(d) of the

Exchange Act [15 U.S.C. §§78j(b), 78m(d)] and Rules 10b-5(a), (b) and (c) thereunder [17

C.F.R. §240.10b-5(a)-(c)].

          11.   The Commission seeks a permanent injunction against the defendants, enjoining

them from engaging in transactions, acts, practices, and courses of business of the type alleged in



                                                  4
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 5 of 40



this Complaint, disgorgement of all ill-gotten gains from the unlawful conduct set forth in this

Complaint pursuant to Section 21(d)(7) of the Exchange Act [15 U.S.C. §78u(d)(7)], together

with prejudgment interest, civil penalties pursuant to Section 20(d) of the Securities Act [15

U.S.C. §77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. §78u(d)(3)], an order

barring defendants Bahadoorsingh, Wall and Wilson from participating in any offering of a

penny stock, pursuant to Section 20(g) of the Securities Act [15 U.S.C. §77t(g)] and/or 21(d) of

the Exchange Act [15 U.S.C. §78u(d)], and such other relief as the Court may deem appropriate.

       12.     The Commission also seeks relief against Haydee Yolanda Sanchez Diaz Monge

(“Monge”), the Martha Y. Jimenez Trust and the Charles A. Carrillo Trust (collectively, the

“Trusts,” and together, the “Relief Defendants”), who all received proceeds of the defendants’

unlawful acts, practices and schemes and should not be entitled to retain those illegally-derived

proceeds.

                                JURISDICTION AND VENUE

       13.     This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act [15 U.S.C. §77v(a)] and Sections 21(d), 21(e), and 27 of the Exchange Act [15

U.S.C. §§78u(d), 78u(e), and 78aa].

       14.     Venue lies in this Court pursuant to Section 22(a) of the Securities Act [15 U.S.C.

§77v(a)] and Section 27 of the Exchange Act [15 U.S.C. §78aa]. Certain of the acts, practices,

transactions and courses of business alleged in this Complaint occurred within the District of

Massachusetts, and were effected, directly or indirectly, by making use of means or

instrumentalities of transportation or communication in interstate commerce, or the mails. For

example, certain individuals who reside in Massachusetts purchased the stock of Aureus during

the time period that it was being promoted by a boiler room hired by Carrillo.



                                                 5
          Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 6 of 40




                                          DEFENDANTS

        15.     Luis Jimenez Carrillo (“Carrillo”), age 47, is a citizen and resident of Mexico. He

was formerly a U.S. citizen and was formerly licensed to practice law in California and New

Jersey. Carrillo remains licensed to practice law in New York. Carrillo was charged by the

Commission in 2013 for his role as a securities attorney in facilitating a pump and dump scheme

involving penny stocks. A judgment in that case was entered against Carrillo after his default.

See SEC v. Carrillo Huettel LLP, et al., Civil Action No. 13-cv-1735 (S.D.N.Y.).

        16.     Amar Bahadoorsingh, age 50, is a resident of Vancouver, British Columbia,

Canada, and a dual citizen of the United Kingdom and Canada.

        17.     Justin Roger Wall (“Wall”), age 35, is a citizen and resident of the United

Kingdom.

        18.     Jamie Samuel Wilson (“Wilson”), age 41, is a citizen and resident of the United

Kingdom.

                                    RELIEF DEFENDANTS

        19.     Haydee Yolanda Sanchez Diaz Monge (“Monge”), age 43, is a resident of Chula

Vista, California.

        20.     The Martha Y. Jimenez Trust is a trust in the name of defendant Carrillo’s mother

that is the co-owner of record of the house located at 2908 Gate Five Pl., Chula Vista, California

(the “California House”).

        21.     The Charles A. Carrillo Trust is a trust in the name of another relative of

defendant Carrillo that is the other co-owner of record of the California House.

                                      RELATED ENTITIES

        22.     Aureus Inc. (“Aureus”) was formerly a gold exploration and mining company and



                                                  6
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 7 of 40



is now a food brand development company. Aureus (Ticker: ARSN) trades on OTC Link

(previously, the “Pink Sheets”), operated by OTC Markets Group, Inc. Aureus was incorporated

in Nevada in 2013 and is currently headquartered in Atlanta, Georgia.

       23.     Garmatex Holdings Ltd. (“Garmatex”) was originally incorporated in Nevada in

2014 as Oaxaca Resources Corp. In 2016, Oaxaca changed its name to Garmatex, changed its

business to developing and supplying engineered fabric technology, and changed its headquarters

to British Columbia, Canada. During 2016 and 2017, Garmatex (Ticker: GRMX) traded on OTC

Link. After the events at issue in this Complaint, Garmatex changed its name to Evolution

Blockchain Group, Inc. (“Evolution”). After the Commission suspended trading in Evolution’s

stock in 2018, OTC Markets Group, Inc. discontinued the display of quotations for Evolution,

though it may continue to be traded on the Grey Market.

       24.     OneLife Technologies Corp. (“OneLife”) is a medical and health software

technology company. After the Commission suspended trading in OneLife securities in October

2018, OTC Markets Group, Inc. discontinued the display of quotations for OneLife (Ticker:

OLMM) though it may continue to be traded on the Grey Market. OneLife was incorporated

under the name Oculus Inc. in Nevada in 2014 and is currently headquartered in Rolling

Meadows, Illinois.

                                        BACKGROUND

       25.     Persons who control companies that have stock that is sold to the public are

subject to a variety of legal and regulatory requirements. Such registration requirements, sale

restrictions, and disclosure obligations are safeguards designed to inform investors about the

nature of the stock they are holding or considering buying, and from whom they would be

buying that stock.



                                                 7
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 8 of 40



        26.     Before selling stock, persons who control the stock of public companies (“control

persons”) are required to: (a) register the stock sales with the Commission pursuant to Section 5

of the Securities Act [15 U.S.C. §77e]; (b) sell the stock pursuant to an applicable exemption

from registration; or (c) sell the stock pursuant to conditions set forth in SEC Rule 144 [17

C.F.R. §240.144], including limitations on the amount of stock a control person can legally

sell. Also, investors in certain public companies are required publicly to disclose any ownership

interest in excess of 5% of the company’s publicly traded stock.

        27.     “Restricted stock” is stock of a publicly traded company (also known as an

“issuer”) that is acquired from an issuer, or an affiliate of the issuer, in a private transaction that

is not registered with the Commission. Stock held by an issuer or affiliate of an issuer is

restricted stock. Absent an exemption under the federal securities laws and rules, restricted stock

cannot legally be offered or sold to the public unless a securities registration statement has been

filed with the Commission (for an offer) or is in effect (for a sale). A registration statement

contains important information about an issuer’s business operations, financial condition, results

of operation, risk factors, and management. It also includes disclosure about any person or group

who is the beneficial owner of more than 5% of the company’s securities.

        28.     An “affiliate” of an issuer is a person or entity that, directly or indirectly through

one or more intermediaries, controls, is controlled by, or is under common control with, such

issuer (i.e. a control person). “Control” means the power to direct management and policies of

the company in question. Affiliates include officers, directors and controlling shareholders, as

well as any person who is “under common control” with, or has common control of, an issuer.

Absent registration of the stock, affiliates are only permitted to sell a small percentage of their

stock according to SEC Rule 144 [17 C.F.R. §230.144]. As used herein, the term “control



                                                   8
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 9 of 40



group” means a group that collectively is an “affiliate” of an issuer.

       29.     “Unrestricted stock” is stock that may legally be offered and sold in the public

marketplace by a non-affiliate, ordinarily having previously been subject to a registration

statement filed with the Commission. Registration statements are transaction specific, however,

and apply to each separate offer and sale as detailed in the registration statement. Registration

does not attach to the security itself, and registration at one stage for one party does not

necessarily suffice to register subsequent offers and sales by the same or different parties. Thus,

when a control person buys publicly-traded or otherwise unrestricted shares in the company s/he

controls, those shares automatically become subject to the legal restrictions on sales by an

affiliate, which strictly limit the quantity of shares that may be sold in the public markets absent

registration. Without registration, affiliates are prohibited from selling large quantities of an

issuer’s shares, regardless of how the affiliates obtained those shares.

       30.     A “transfer agent” is a company which, among other things, issues and cancels

certificates of a company’s stock to reflect changes in ownership. Many companies that have

publicly traded securities use transfer agents to keep track of the individuals and entities that own

their stocks. Transfer agents routinely keep track of whether shares are restricted from resale.

       31.     The Over-the-Counter (“OTC”) Markets is a stock quotation service that

facilitates public trading of shares in public companies that are not otherwise listed on national

securities exchanges (like NASDAQ or the New York Stock Exchange). Public companies that

do not have an obligation to file reports with the Commission may, nonetheless, choose to file

public reports (such as quarterly and annual statements) on the OTC Markets website for

investors to review and consider when making investment decisions.




                                                  9
            Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 10 of 40



        32.     A “beneficial owner” of a security is any person who, directly or indirectly,

through any contract, arrangement, understanding, relationship, or otherwise has or shares

investment power, which includes the power to dispose, or to direct the disposition of, such

security.

        33.     “Penny Stock,” as used herein, generally refers to a security issued by a very

small company that trades at less than $5 per share.

            THE FRAUDULENT SCHEMES TO CONCEAL STOCK OWNERSHIP

                                        Example 1: Aureus

        34.     Aureus was incorporated in Nevada in April 2013 and operated as a publicly

traded company at times during the Relevant Period.

        35.     In or about October 2014, approximately 34 Korean nationals purported to

purchase 2,430,000 shares of Aureus for a total of $24,300 (the “Aureus S-1 Shareholders”).

        36.     On or about March 12, 2015, Aureus registered its securities pursuant to Section

12 of the Exchange Act. That registration was in effect through March 2017.

        37.     On or about November 25, 2015, Aureus effected a 15-for-1 forward split of its

common stock, which increased the total amount of shares issued to the Aureus S-1 Shareholders

from 2,430,000 to 36,450,000.

        38.     In August 2016, the transfer agent for Aureus recorded the transfer of three blocks

of Aureus shares from groups of Aureus S-1 Shareholders to nominees that Carrillo had the

ability to direct. First, Carrillo directly or indirectly acquired a block of 2,625,000 shares of

Aureus from two Aureus S-1 Shareholders. Second, Carrillo directly or indirectly acquired a

block of 5,250,000 shares of Aureus from a shareholder (who had acquired those shares from

four additional Aureus S-1 shareholders). Third, he directly or indirectly acquired a block of



                                                  10
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 11 of 40



3,150,000 shares of Aureus from three additional Aureus S-1 Shareholders. These three blocks

of Aureus stock were held by three different offshore nominee entities whose activities Carrillo

had the ability to direct. For two of these blocks of shares, Carrillo engaged in additional

attempts to obscure his ownership by transferring the shares from one offshore nominee he

controlled to a second offshore nominee he controlled.

        39.    The nominee entity through which Carrillo held the block of 5,250,000 Aureus

shares was named Murray Capital Corp. Murray Capital was created by Wintercap personnel at

the request of Carrillo, who asked Wintercap to create several nominee entities for Carrillo’s use

to hold and dispose of his shares of publicly traded penny stocks.

        40.    At about the same time, Carrillo’s partners, including Bahadoorsingh, Wall and

Wilson, also facilitated the transfer of Aureus stock into the names of nominee entities they

controlled.

        41.    On or about August 3, 2016, Aureus’ transfer agent recorded the transfer of

3,600,000 shares of Aureus to a Hong Kong entity controlled by Bahadoorsingh from three

Aureus S-1 Shareholders. The Share Transfer Agreements that purport to document these three

sales are falsified documents. Each of the three Share Transfer Agreements purports to sell to

Bahadoorsingh’s entity more Aureus shares than each of the selling Aureus S-1 Shareholders

owned at the time. The three Agreements (dated in May 2015) reflect that each of the Aureus S-

1 Shareholders is selling to Bahadoorsingh’s entity the number of shares it had only after the

November 2015 stock split that increased their shares by a factor of 15. Moreover, documents

that purport to demonstrate that Bahadoorsingh’s entity paid the selling Aureus S-1 Shareholders

for these shares in May 2015 show a purchase price based on the increased number of shares that

the Aureus S-1 Shareholders first owned in November 2015.



                                                 11
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 12 of 40



       42.     The purported acquisitions of Aureus shares by Wall’s and Wilson’s entities are

based on similar falsified documents.

       43.     On or about April 11, 2016, Aureus’ transfer agent recorded the transfer of

2,625,000 shares of Aureus to a United Kingdom entity controlled by Wall from three Aureus S-

1 Shareholders. Each of the three Share Transfer Agreements purports to sell to Wall’s entity

more Aureus shares than each of the selling Aureus S-1 Shareholders owned at the time. The

three Agreements (dated in April and May 2015), which were each signed by Wall, reflect that

each of the Aureus S-1 Shareholders is selling to Wall’s entity the number of shares it had only

after the November 2015 stock split that increased their shares by a factor of 15. Moreover,

documents that purport to demonstrate that Wall’s entity paid the selling Aureus S-1

Shareholders for these shares in April or May 2015 show a purchase price based on the increased

number of shares that the Aureus S-1 Shareholders first owned in November 2015. In addition,

the bank account from which the wire remittance purporting to show Wall’s entity paying the

Aureus S-1 Shareholders for their shares was not even opened until about a year after the date of

the purported wire payment.

       44.     On or about July 28, 2016, Aureus’ transfer agent recorded the acquisition of a

block of 3,750,000 Aureus shares from four Aureus S-1 Shareholders by a different United

Kingdom entity (sharing the same address as Wall’s entity) which was controlled by Wilson.

Each of the four Share Transfer Agreements purports to sell to Wilson’s entity more Aureus

shares than each of the selling Aureus S-1 Shareholders owned at the time. The four Agreements

(dated between April and June 2015), which were each signed by Wilson, reflect that each of the

Aureus S-1 Shareholders is selling to Wilson’s entity the number of shares it had only after the

November 2015 stock split that increased their shares by a factor of 15. Moreover, documents



                                               12
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 13 of 40



that purport to demonstrate that Wilson’s entity paid the selling Aureus S-1 Shareholders for

these shares in April through June 2015 show a purchase price based on the increased number of

shares that the Aureus S-1 Shareholders first owned in November 2015.

       45.     On or about July 28, 2016, Aureus’ transfer agent also recorded the acquisition of

another block of 4,275,000 Aureus shares from a group of four additional Aureus S-1

Shareholders by a second United Kingdom entity controlled by Wilson (which also shared the

same address as both Wall’s entity and Wilson’s first entity).

       46.     In total, Carrillo, Bahadoorsingh, Wall and Wilson, directly or indirectly, acquired

25,275,000 shares of Aureus by August 2016 using seven foreign nominee entities (the “Aureus

Nominees”). Aureus had approximately 126,450,000 shares outstanding at that time (5% of

which was approximately 6,322,500 shares). Thus, Carrillo, Bahadoorsingh, Wall and Wilson

collectively owned about 20% of Aureus’ outstanding shares, and about 81% of its float.

       47.     Section 13(d) of the Exchange Act and the Commission’s rules promulgated

thereunder require individuals acting alone or in a group to file reports with the Commission,

which are available to investors, when those shareholders acquire more than 5% of the

outstanding stock of a company registered under Section 12. Aureus was a company registered

under Section 12.

       48.     Carrillo formerly operated as a lawyer specializing in the United States federal

securities laws. Carrillo knew about and understood, or recklessly disregarded, Section 13(d) of

the Exchange Act, and his obligations under that statute to disclose his direct or indirect

ownership, as part of a group, of more than 5% of Aureus’s outstanding shares.

       49.     Carrillo, Bahadoorsingh, Wall and Wilson used the Aureus Nominees to create

the false appearance that none of the Aureus Nominees had to disclose their beneficial ownership



                                                 13
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 14 of 40



interest pursuant to Section 13(d) of the Exchange Act because, on paper, each of the Aureus

Nominees held less than 5% of Aureus’s stock. In actuality, Carrillo, Bahadoorsingh, Wall and

Wilson, acting in concert, controlled the Aureus Nominees. As a result, through the Aureus

Nominees, Carrillo and his partners, including Bahadoorsingh, Wall and Wilson, were the

beneficial owners, in a group, of more than 5% of Aureus’s publicly traded stock and were

required to disclose that interest. Carrillo, Bahadoorsingh, Wall and Wilson failed to disclose

their beneficial ownership status as required by Section 13(d) of the Exchange Act.

       50.     In addition to coordinated actions relating to Aureus, Carrillo and Bahadoorsingh

worked together on multiple deals with a similar structure in that they and their partners together

controlled 5% or more of a company’s shares, but worked through nominee entities to conceal

their ownership interest and sell those shares through brokerage accounts that obscured their

identities. Bahadoorsingh, Wall and Wilson also worked together on multiple deals with a

similar structure in that they, and others, together controlled 5% or more of a company’s shares,

but worked through nominee entities to conceal their ownership interest and sell those shares

through brokerage accounts that obscured their identities. Bahadoorsingh sometimes interacted

with the operators of Wintercap to shepherd payments from Wintercap to Wall and Wilson.

       51.     Between approximately July 28 and August 17, 2016, Carrillo, Bahadoorsingh,

Wall and Wilson, directly or indirectly and operating through the Aureus Nominees, orchestrated

the transfer of the Aureus shares they controlled through the Aureus Nominees into brokerage

accounts where they could be traded. Carrillo, directly or indirectly, transferred the blocks held

by three of the seven Aureus Nominees (including Murray Capital’s block) to Wintercap. These

three blocks were immediately deposited into Wintercap brokerage accounts at foreign Brokers

B, F and G. Three of the remaining Aureus Nominees - controlled by Bahadoorsingh, Wall, and



                                                14
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 15 of 40



one of the entities controlled by Wilson - deposited their blocks of Aureus stock with a U.S.

broker (“Broker E”).

       52.     Wall and Wilson made false statements to Broker E in connection with their

deposits of Aureus shares. Bahadoorsingh’s entity, as directed by Bahadoorsingh, made similar

false statements to Broker E. Specifically, each of Wall, Wilson and Bahadoorsingh’s entity

represented that it was not an affiliate of Aureus, and that it has not and would not act in concert

with any other person in connection with their acquisition and sale of Aureus stock. Each also

misrepresented that they were unaware of any planned promotions when they knew, or were

reckless in not knowing, that the group of Carrillo, Bahadoorsingh, Wall and Wilson would act

in concert to sell their shares while Carrillo arranged for Aureus stock promotions.

       53.     In addition, one of the share transfer agreements that Wilson submitted to Broker

E as justification for why Broker E should accept the deposit of his entity’s Aureus shares

purported to document an Aureus share transfer that did not occur. Wilson submitted a sham

share transfer agreement that purported to be between his entity and an Aureus S-1 Shareholder

that did not transfer his shares and remains a shareholder today.

       54.     Carrillo and Bahadoorsingh, acting in concert with at least each other, began

directing sales of their Aureus stock in furtherance of the scheme.

       55.     Wintercap sold approximately 4.7 million shares of Aureus for proceeds of

approximately $3.0 million in August 2016 through Brokers B, F and G. Broker E also sold

approximately 3.4 million shares of Aureus for the Aureus Nominee controlled by

Bahadoorsingh for proceeds of approximately $2.2 million during the same period. Carrillo and

Bahadoorsingh, working in concert and with others, directed the sales of these Aureus shares.




                                                 15
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 16 of 40



       56.     Carrillo and Wintercap personnel communicated via an encrypted messaging

application called Threema. Using Threema, Carrillo instructed Wintercap’s operators to make

particular trades of Aureus (whose ticker symbol was ARSN). For example, on August 5, 2016,

Carrillo told Wintercap’s operator to “Sell 500k arsn at .50.” Soon thereafter, Wintercap’s

operator informed Carrillo that there is “ARSN big bid 900k @ .495.” Carrillo responded “Sell

another 1m [million] arsn at .493.” At the end of the day, after Wintercap had sold

approximately 2.1 million shares of Aureus through Murray Capital, as well as several other

securities as directed by Carrillo, Carrillo wrote to Wintercap’s operator “this is what u call

clicking on all [expletive] cylinders.”

       57.     It appears that the Aureus Nominees controlled by Wall and Wilson did not have

an opportunity to sell their Aureus shares before the market price of Aureus stock declined

rapidly after weeks of sales directed by Carrillo and Bahadoorsingh.

       58.     At or about the same time that Carrillo and Bahadoorsingh directed the sales of

Aureus stock, Carrillo orchestrated a promotional campaign to promote Aureus stock to investors

by agreeing to pay the operator of a boiler room based in Medellin, Colombia to call potential

investors. Boiler rooms are call centers that typically use high-pressure sales tactics to

encourage investors to buy securities, usually penny stocks like Aureus. Carrillo knew that the

boiler room he hired would call investors and encourage them to buy Aureus stocks without

revealing that they were being paid by the person who owned most of the Aureus stock available

for sale or that they stood to profit handsomely from the investors’ purchases. Carrillo’s efforts

to promote Aureus stock led to a significant increase in the price and volume of Aureus’s stock

in August 2016, as illustrated below:




                                                 16
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 17 of 40




       59.     Carrillo, Bahadoorsingh, Wall and Wilson, by virtue of their control over a

significant percentage of Aureus’s outstanding shares and its float, were affiliates of Aureus.

       60.     At the time that Carrillo and Bahadoorsingh directly or indirectly sold Aureus

stock, there was not a registration statement for those sales on file with the Commission or in

effect as to those transactions, as required by Section 5 of the Securities Act. Carrillo and

Bahadoorsingh also failed to comply with the sale limitations of SEC Rule 144 when directly or

indirectly selling Aureus stock.

       61.     Carrillo and Bahadoorsingh knew, or were reckless in not knowing, that they were

required to register their sales of Aureus stock with the Commission or otherwise comply with

the conditions of SEC Rule 144. Carrillo, Bahadoorsingh, Wall and Wilson also knew, or were

reckless in not knowing, that their actions in concealing their ownership of Aureus by dividing

                                                 17
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 18 of 40



that stock into tranches of less than 5% and distributing it to nominee entities would serve to

conceal their ownership of that stock, which they and their partners were required to disclose.

When they failed to do so, Carrillo, Bahadoorsingh, Wall and Wilson knowingly or recklessly

schemed to defraud Aureus investors by concealing information about who was behind the

significant sales the group generated. Their state of mind is demonstrated by the actions they

took to conceal the ownership of the Aureus shares they controlled. Carrillo’s and

Bahadoorsingh’s state of mind is also demonstrated by their pattern of behavior on similar deals,

and their direction of the Aureus trades.

        62.    Wintercap’s and Broker E’s sale of Aureus stock on behalf of Carrillo,

Bahadoorsingh and their partners in or about August 2016 generated approximately $5.2 million

in illicit proceeds. During August and September 2016, Wintercap transferred at least $1 million

from the proceeds of Aureus stock to entities and individuals associated with Carrillo. Similarly,

Broker E transferred at least $922,000 of the proceeds of the Aureus stock sales to entities and

individuals associated with Carrillo and Bahadoorsingh. The tables below illustrate a number of

transfers:

    Payments from Wintercap             Description of Recipient of Payment
                     $455,312 Mexican pass-through entity linked to Carrillo named
                              Transformaciones y Servicios Industriales SA de CV
                     $304,999 Mexican stock promotion firm linked to Carrillo named
                              Promotora Prixom SP
                     $200,000 Defense fees to lawyer representing Carrillo in prior
                              Commission case
                      $75,000 Business associate of Carrillo and Bahadoorsingh
                      $49,049 Mexican pass-through entity linked to Carrillo named GPO
                              Kedret SA de CV
 Total            $1,084,360


   Payments from Broker E              Description of Recipient of Payment
                   $560,002 U.S. company controlled by Bahadoorsingh
                   $200,000 Defense fees to lawyer representing Carrillo in prior

                                                18
          Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 19 of 40




                               Commission case
                      $150,000 Promotora Prixom SP
                       $12,000 Bahadoorsingh personal account
 Total                $922,002


                                     Example 2: Garmatex

         63.   Garmatex was incorporated in Nevada in April 2014. During a portion of the

Relevant Period, Garmatex’s stock was publicly traded.

         64.   Between approximately August 26 and September 2, 2014, approximately 32

Mexican nationals purportedly purchased 1,200,000 shares of Garmatex for a total of $9,000 in a

registered securities offering (the “Garmatex S-1 Shareholders”).

         65.   On or about September 11, 2014, Garmatex’s board of directors directed

Garmatex’s transfer agent to send all of the share certificates purportedly owned by the

Garmatex S-1 Shareholders to a single law firm based in Nevada. The certificates purportedly

issued to the Garmatex S-1 Shareholders were, in reality, controlled by one or more parties

acting in concert and in control of Garmatex.

         66.   On or about August 15, 2016, Garmatex effected a 12.5-for-1 forward split of its

common stock which increased the total amount of shares issued to the Garmatex S-1

Shareholders from 1,200,000 to 15,000,000.

         67.   Between about February 28 and March 29, 2017, Carrillo, acting in concert with

others, acquired six blocks (which together totaled 10,250,000 shares) of Garmatex stock from

the Garmatex S-1 Shareholders. Specifically, Carrillo, in concert with others, acquired the six

blocks of Garmatex shares, in four blocks of 1,750,000 shares and two blocks of 1,625,000

shares, with each block coming from 3 to 5 Garmatex S-1 Shareholders. Carrillo, acting in




                                                19
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 20 of 40



concert with others, transferred each of the six blocks of shares to a different offshore nominee

entity (the “Six Nominees”).

       68.     In March 2017, Garmatex filed with the Commission a Form 8-K in which it

disclosed, among other things, its 5% stockholders. As of March 8, 2017, Garmatex’s Form 8-K

disclosed that it had approximately 35.4 million outstanding shares. Each of the Six Nominees

held just under 5% of Garmatex’s stock but, in reality, Carrillo, acting in concert with others,

controlled each of the Six Nominees. Garmatex did not disclose the stock held under common

control by Carrillo through the Six Nominees, which collectively comprised almost 29% of

Garmatex’s outstanding stock.

       69.     On or about March 13, 15, and 16, 2017, Carrillo, acting in concert with others,

orchestrated the transfer of 5,250,000 shares of Garmatex stock from three of the Six Nominees

to Wintercap in three equal parts. On or about March 13 and 30, 2017, Carrillo acting in concert

with others, orchestrated the transfer of 1,625,000 and 1,750,000 shares of Garmatex stock,

respectively, from two of the Six Nominees to Blacklight. On or about March 16, 2016, Carrillo

acting in concert with others, orchestrated the transfer of 1,625,000 shares of Garmatex stock to

an account at another broker outside of Wintercap or Blacklight.

       70.     On or about the same days, Wintercap and Blacklight deposited the Garmatex

shares they held in accounts they controlled at four different brokerage firms (Brokers A, B, C

and D) and began selling them in furtherance of the scheme.

       71.     In or about April 2017, Carrillo, acting in concert with others, acquired control

over about 1,983,337 additional shares of Garmatex, which had been obtained from a number of

Garmatex S-1 Shareholders. Carrillo and his associates then deposited two additional tranches of

Garmatex stock with Wintercap (totaling these 1,983,337 shares), most of which Wintercap



                                                 20
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 21 of 40



subsequently deposited and sold without an effective registration statement in effect. Overall,

Carrillo, acting in concert with others, transferred approximately 34% of Garmatex’s outstanding

stock (and approximately 88% of its float) to Wintercap, Blacklight and another broker outside

of Wintercap and Blacklight within just two months.

       72.     Carrillo, acting in concert with others, directed the sales of these Garmatex shares.

       73.     Using the encrypted Threema messaging application through which they had

communicated about Aureus, Carrillo and Wintercap personnel discussed Garmatex shares

between at least March 9 and March 23, 2017. On March 9, Carrillo wrote to Wintercap

personnel to tell them that one of his associates was sending them documents relating to GRMX

(the ticker symbol for Garmatex) and he asked Wintercap to send documents to the transfer agent

so that the shares could be deposited promptly and that his request was “Urgent so we can have a

good month lol.”

       74.     On March 14, 2017, Carrillo wrote again to Wintercap confirming that the two

Garmatex positions he sent them were just waiting for a few additional documents, and asked

Wintercap to be ready to sell the first of those two positions “at open” of the market. When

Wintercap responded that 1.75 million shares were ready to sell, Carrillo responded, “Dropping

at open yeah baby,” and later in the day instructed Wintercap “Sell 25k GRMX at .80.”

       75.     On March 23, 2017, Carrillo again wrote to Wintercap’s operators, asking if they

could “take the remaining 3.2 mil shares of GRMX?” Wintercap’s operator responded, “Sure,

feed me.” At the time, 3.2 million shares of Garmatex was nearly 9% of the company’s

outstanding shares.




                                                21
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 22 of 40



       76.     By May 15, 2017, Wintercap and Blacklight had sold every share of Garmatex

stock that Carrillo had caused to be deposited with them. Those sales were made using the

interstate telecommunications facilities of OTC Markets in the United States.

       77.     At or about the same time that Carrillo directed the sale of Garmatex stock

through Wintercap and Blacklight, Carrillo orchestrated a promotional campaign to encourage

investors to purchase Garmatex stock. First, Carrillo agreed to pay the operator of the same

Colombia-based boiler room that was used to promote Aureus to call potential investors to

promote Garmatex. Certain individuals who reside in Massachusetts received telephone calls as

part of the boiler room’s promotional campaign touting Garmatex and then purchased the stock

of Garmatex. Second, Carrillo directed and sponsored an email promotional campaign to

promote Garmatex during the same time period as the boiler room operation. Third, Carrillo

paid a public relations consultant based in Canada to draft eight press releases relating to

Garmatex during the March and April 2017 period that overlapped with his other promotional

efforts. To conceal his involvement in hiring this consultant, Carrillo used code names and

encrypted messaging applications to communicate about the press releases. Carrillo’s efforts to

promote Garmatex stock led to a significant increase in the price and volume of Garmatex’s

stock in March and April 2017 as shown in the chart below.




                                                 22
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 23 of 40




       78.     Carrillo, by virtue of his control over a significant percentage of Garmatex’s

outstanding shares and the float, was an affiliate of Garmatex. Carrillo also controlled and

directed Garmatex’s public relations efforts by arranging to pay, and directing the activities of,

persons promoting Garmatex.

       79.     At the time that Carrillo directly or indirectly sold Garmatex stock, there was not

a registration statement for those sales on file with the Commission or in effect as to those

transactions, as required by Section 5 of the Securities Act. Carrillo also failed to comply with

the sale limitations of SEC Rule 144 when directly or indirectly selling Garmatex stock. Rule

144 limits the amount of certain securities (like Garmatex) that can be sold by an affiliate to 1%

of the issuer’s outstanding shares over a three-month period. When multiple affiliates act



                                                 23
          Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 24 of 40



together to sell an issuer’s shares, their sales are aggregated to determine whether they comply

with the 1% requirement.

         80.   Carrillo formerly operated as a lawyer specializing in the United States federal

securities laws. Carrillo thus knew, or was reckless in not knowing, that he was required to

register his sales of Garmatex stock with the Commission or otherwise comply with the

conditions of SEC Rule 144. Carrillo also knew, or was reckless in not knowing, that his actions

in concealing his ownership of Garmatex and other securities by dividing that stock into tranches

of less than 5% and distributing it to nominee entities would serve to conceal his ownership of

that stock. When he took these actions to facilitate his sales of Garmatex and other securities,

Carrillo knowingly or recklessly schemed to defraud Garmatex investors and the investors in

those other companies.

         81.   Carrillo and his partners generated over $7 million in illicit proceeds by selling

Garmatex stock through Wintercap and Blacklight during March, April and May 2017. During

March and May 2017, Wintercap transferred, on Carrillo’s behalf, at least $5.4 million to entities

and individuals associated with Carrillo. The table below illustrates some of the larger transfers:

     Payments from Wintercap                    Description of Recipient of Payment
                       $1,189,000      Promotora Prixom SP
                         $723,000      Transformaciones y Servicios Industriales SA de CV
                         $675,000      GPO Kedret SA de CV
                         $826,000      Mexican pass-through entity linked to Carrillo named
                                       El Quinto Poder SA de CV
                              $525,850 California jeweler selling products to Carrillo

                             $134,500 Payment for BMW X-5 vehicle for Haydee Monge
                              $75,000 Defense fees to lawyer representing Carrillo in prior
                                      Commission case
 Total                     $4,148,350




                                                24
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 25 of 40




                                      Example 3: OneLife

       82.     OneLife operated as a publicly traded company at times during the Relevant

Period, and was incorporated in Nevada on January 9, 2014.

       83.     In or about February 2014, approximately 38 Jamaican nationals purported to

purchase 11,367,670 shares of OneLife for a total of about $3,410 (the “OneLife S-1

Shareholders”).

       84.     On or about March 2, 2018, OneLife registered its securities pursuant to Section

12 of the Exchange Act. That registration was in effect through May 2019.

       85.     By January 2017, Carrillo had arranged for all but two of the OneLife S-1

Shareholders’ share certificates to be delivered to Wintercap. Wintercap personnel confirmed by

an encrypted Threema communication to Carrillo dated January 11, 2017 that Wintercap had the

OneLife share certificates, including the share certificate for 35 million shares purportedly held

by OneLife’s CEO.

       86.     On January 16, 2017, Carrillo emailed Wintercap personnel a blank Share

Purchase Agreement for the sale of OneLife stock with blanks to fill in the names of the

purchasers and sellers and the purchase prices. Attached to the same email message were

signature pages for that Share Purchase Agreement that were purportedly signed by 35 of the

OneLife S-1 Shareholders as sellers but with blanks for the purchasers. It appears that Wintercap

and Carrillo worked together to determine how to divide the OneLife S-1 Shareholders’ shares

between the nominee entities through which they intended to sell these shares for Carrillo.

       87.     On or about June 13, 2017, OneLife effected a 2-for-1 forward split of its

common stock which increased the total amount of shares issued to the 38 OneLife S-1

Shareholders from 11,367,670 to 22,735,340.



                                                25
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 26 of 40



       88.     Beginning in June 2017, OneLife’s transfer agent was informed about several

transfers of shares from the OneLife S-1 Shareholders to entities controlled by Carrillo. These

transfers were accomplished using the Share Purchase Agreements that Carrillo had sent to

Wintercap in January 2017. Specifically, in or about June 2017, Carrillo directly or indirectly

acquired a block of 4,366,670 shares of OneLife from seven OneLife S-1 Shareholders, and a

second block of 4,666,668 shares of OneLife from eight additional OneLife S-1 shareholders.

Later, in or about September 2017, Carrillo directly or indirectly acquired a third block of

4,132,000 shares of OneLife from seven additional OneLife S-1 Shareholders. Carrillo, directly

or indirectly, held each block of OneLife stock in a separate offshore nominee (the “OneLife

Nominees”).

       89.     The second of these three blocks of OneLife shares (4,666,668 shares) was

acquired by a nominee entity named Compton Capital. Compton Capital was one of the

nominees that Carrillo asked Wintercap personnel to create for his use to hold and dispose of

penny stocks (as discussed in paragraph 39 above).

       90.     In total, Carrillo directly or indirectly acquired approximately 13.1 million shares

of OneLife stock between June and September 2017. As of the end of October 2017, OneLife

had approximately 92,735,340 shares outstanding (5% of which was approximately 4,636,767

shares). Carrillo thus held about 14% of OneLife’s outstanding shares. In December 2017, a

share cancellation reduced OneLife’s outstanding shares to 62,985,340 shares.

       91.     Section 13(d) of the Exchange Act and the Commission’s rules promulgated

thereunder require individuals acting alone or in a group to file reports with the Commission,

which are available to investors, when those shareholders acquire more than 5% of the




                                                26
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 27 of 40



outstanding stock of a company registered under Section 12. OneLife was a company registered

under Section 12 as of March 2018.

       92.     Carrillo formerly operated as a lawyer specializing in the United States federal

securities laws. Carrillo knew about and understood, or recklessly disregarded, Section 13(d) of

the Exchange Act, and his obligations under that statute to disclose his direct or indirect

ownership of more than 5% of OneLife’s outstanding shares.

       93.     Carrillo, acting in concert with others, controlled the OneLife Nominees. As a

result, through the OneLife Nominees, Carrillo was the beneficial owner, alone or in a group

with others, of more than 5% of OneLife’s publicly traded stock and he was required to disclose

that interest. Carrillo failed to disclose his beneficial ownership status as required by Section

13(d) of the Exchange Act.

       94.     Between June and September 2017, Carrillo, directly or indirectly and operating

through the OneLife Nominees, orchestrated the transfer of all three blocks of OneLife shares he

controlled to Wintercap. By the end of September, these three blocks of stock that Carrillo had

directed to Wintercap comprised about 14% of OneLife’s outstanding shares, and about 92% of

OneLife’s float.

       95.     On or about the same days, Wintercap deposited the three blocks of OneLife

shares it received into accounts it controlled at Brokers A, B and H. Wintercap, acting directly

or indirectly on instructions from Carrillo, began selling it in furtherance of the scheme. The

Compton Capital shares deposited with Broker H were broken into smaller blocks of under 5%

each, and sent to other brokers to be traded.

       96.     Carrillo used the same encrypted application that he had used to communicate

with Wintercap’s operators about Garmatex and Aureus to communicate about OneLife (whose



                                                 27
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 28 of 40



ticker symbol was OLMM). On August 31, 2018, using that application, Carrillo expressed

concern that Wintercap might run out of OneLife shares, and he inquired about the status of

getting another block of shares to Wintercap. On August 31, 2018, Wintercap sold 1.08 million

shares of OneLife at Carrillo’s direction through two of the OneLife Nominees. On September

25, 2018, using the same application, Carrillo directed Wintercap to sell OneLife shares in

multiple blocks. At the end of the trading day, Wintercap personnel wrote to Carrillo to report

“sold 334,000 OLMM @ $0.566 average.” In fact, on September 25, 2018, Wintercap sold

exactly 334,000 shares of OneLife through its account at Broker B on behalf of one of the

OneLife Nominees.

       97.     Similarly, on September 27, 2018, through the same encrypted application,

Carrillo instructed Wintercap to sell 400,000 shares of OLMM at $0.627. Wintercap’s operator

responded that he would split the order. In fact, on September 27, 2018, Wintercap sold exactly

400,000 shares of OLMM: 250,000 shares through one of its brokerage accounts on behalf of

one of the OneLife Nominees, and 150,000 shares through its account with Broker B on behalf

of another OneLife Nominee.

       98.     In total, Wintercap sold approximately 7.5 million shares of OneLife for proceeds

of approximately $5.25 million between November 2017 and October 2018. Carrillo directed

the sales of these OneLife shares.

       99.     Carrillo, by virtue of his control over a significant percentage of OneLife’s

outstanding shares and the float, was an affiliate of OneLife. Carrillo also controlled and

directed OneLife’s public relations efforts by arranging to pay, and directing the activities of, a

public relations consultant based in Canada. Carrillo used encrypted messaging applications and




                                                 28
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 29 of 40



code names to communicate with the consultant. The consultant drafted five press releases for

OneLife between January and February 2018.

       100.    At the time that Carrillo directly or indirectly sold OneLife stock, there was not a

registration statement for those sales on file with the Commission or in effect as to those

transactions, as required by Section 5 of the Securities Act. Carrillo also failed to comply with

the sale limitations of SEC Rule 144 when directly or indirectly selling OneLife stock.

       101.    Carrillo knew, or was reckless in not knowing, that he was required to register his

sale of OneLife stock with the Commission or otherwise comply with the conditions of SEC

Rule 144. He also knew, or was reckless in not knowing, that he was required to disclose his

ownership interest in OneLife stock. When he failed to do so, Carrillo knowingly or recklessly

schemed to defraud OneLife investors by concealing information about who was behind the

significant sales he orchestrated through Wintercap’s brokerage accounts.

       102.    Wintercap’s sale of OneLife stock on behalf of Carrillo and his partners between

November 2017 and October 2018 generated over $5.25 million in illicit proceeds. Between

January and September 2018, Wintercap transferred, on Carrillo’s behalf, at least $2.88 million

to entities and individuals associated with Carrillo.

     Payments from
                                               Description of Recipient of Payment
     Wintercap
                            Mexican pass-through entity linked to Carrillo named Bufet
                   $882,500 Corporative y Aduanero Khaliq SA de CV
                            Mexican pass-through entity linked to Carrillo named
                  $690,000 Comercializadora Anairda SA de CV
                            Mexican pass-through entity linked to Carrillo named Fuze
                  $529,000 Construcciones SA de CV
                  $464,010 California jeweler selling products to Carrillo
                            Payments for home improvements on Chula Vista property owned by
                  $250,000 Martha Y. Jimenez Trust
                            Payments for home improvements on Chula Vista property owned by
                   $65,000 Martha Y. Jimenez Trust

                                                  29
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 30 of 40




 Total          $2,880,510


                 Additional Publicly Traded Companies Dumped by Carrillo

         103.   In addition to the stock of Aureus, Garmatex and OneLife, Carrillo, acting in

concert with others, sold the stock of numerous other publicly traded companies without an

exemption from registration, or effective registration in effect with the Commission, pursuant to

Section 5 of the Securities Act during the Relevant Period.

         104.   The table set forth below in this paragraph identifies examples, without limitation,

of sales for which no effective registration statement was filed or in effect. For each example in

that table, Carrillo, directly or indirectly, transferred unregistered stock to Wintercap, Blacklight,

or other intermediaries, which these entities then sold after depositing the unregistered stock with

brokers. By doing so, Carrillo was acting as the issuer by virtue of his control over, at a

minimum, a significant percentage of the shares available for trading in the following companies.

In these examples, as in the Garmatex example above, Carrillo, working with others, typically

divided the stock he controlled so each nominee owner possessed less than 5% of the issuer’s

outstanding stock. The “Shares Available for Trading” in the table below indicates the number

of shares that had been deposited with brokers and were thus available for trading in the market.

On each occasion, no registration exemption applied, and Carrillo failed to comply with the

conditions of SEC Rule 144.




                                                  30
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 31 of 40




        105.   With respect to at least three of the securities listed in the table above, PSNX

(PureSnax International Inc.), CATQ/FTWS (Flitways Technology Inc.) and ORRP (Oroplata

Resources Inc.), Carrillo hired the same boiler room based in Medellin, Colombia that he hired to

promote both Garmatex and Aureus securities. Carrillo thus took advantage of the promotional

calls made by the boiler room to unsuspecting retail investors to increase the demand for those

securities that he and his associates, who controlled their float, wanted to sell.

        106.   The Commission’s Rule 144 limits the volume of securities legally able to be sold

for the account of an issuer’s “affiliate” during a three month time period to the greater of: a) 1

percent of the shares of the class of outstanding stock as shown by the most recent report or

statement published by the issuer, or b) the average weekly reported volume of trading in those

securities.

        107.   On numerous occasions, Carrillo and his partners, including Bahadoorsingh at

least with respect to Aureus, sold more than 1 percent of a class of an issuer’s shares in less than

3 months (indeed sometimes even in one day) while they were affiliates of that issuer. The

following table provides several examples of this conduct:




                                                  31
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 32 of 40




                                                                              Shares Sold
                   Shares              1%
   Issuer                                               1% Test Period        During Test     Percent
                 Outstanding        Threshold
                                                                                Period
 FTWS             30,000,000         300,000                 9/7/2016             700,000        2.33%
 RETC             75,692,024         756,920          6/27/2017 - 6/30/2017       905,100        1.20%
 GRMX             35,627,934         356,279                3/14/2017           2,625,000        7.37%
 OLMM             62,985,340         629,853          3/22/2018 - 3/27/2018       731,485        1.16%
 ARSN            126,450,000       1,264,500                 8/4/2016           2,020,000        1.60%
 ORRP             57,136,934         571,369           6/7/2016 - 6/9/2016        623,000        1.09%
 DIGAF            42,909,650         429,097                11/1/2016           1,576,000        3.67%
 MTUU             30,000,000         300,000                2/12/2018             740,000        2.47%


                         Monetary Transfers to the Relief Defendants

       108.    Defendant Carrillo transferred, directly or indirectly, millions of dollars of trading

proceeds from the fraudulent conduct described above to the Relief Defendants for no legitimate

purpose or consideration.

       109.    In or about April 2017, Carrillo directed Wintercap to transfer $134,500 derived

from fraudulent securities sales to a car dealership to purchase a BMW X5 automobile that was

titled in the name of Monge as its owner. Wintercap funded the payment from one of the

offshore nominees it created for Carrillo’s personal use. Though Monge is the purported owner

of that automobile, the insured party listed on the vehicle’s insurance policy is Carrillo himself.

       110.    Between January 2017 and June 2018, Carrillo transferred at least $605,500

sourced from the fraudulent trading proceeds described above to fund improvements on the

house located at 2908 Gate Five Place, Chula Vista, California. The record co-owners of that

home are the Martha Y. Jimenez Trust and the Charles A. Carrillo Trust. Martha Y. Jimenez is

defendant Carrillo’s mother and Charles A. Carrillo is a relative of defendant Carrillo. Land

records for the house indicate that the Martha Y. Jimenez Trust and the Charles A. Carrillo Trust

are absentee owners.



                                                 32
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 33 of 40




                                 FIRST CLAIM FOR RELIEF
                     FRAUD IN THE OFFER OR SALE OF SECURITIES
    (Violations of Sections 17(a)(1) and (3) of the Securities Act by Carrillo, Bahadoorsingh,
                                        Wall and Wilson)


        111.      Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        112.      During the Relevant Period, the stock of Garmatex, Aureus and OneLife was each

a security under Section 2(a)(1) of the Securities Act [15 U.S.C. §77b(a)(1)].

        113.      By reason of the conduct described above, defendants Carrillo, Bahadoorsingh

Wall and Wilson, in connection with the offer or sale of securities, by the use of the means or

instrumentalities of interstate commerce or of the mails, directly or indirectly, acting

intentionally, knowingly, recklessly or negligently (i) employed devices, schemes, or artifices to

defraud; and (ii) engaged in transactions, practices, or courses of business which operated or

would operate as a fraud or deceit upon any persons, including purchasers or sellers of the

securities.

        114.      By reason of the conduct described above, defendants Carrillo, Bahadoorsingh,

Wall and Wilson violated Securities Act Sections 17(a)(1) and (3) [15 U.S.C. §77q(a)(1) and (3)]

and will continue to violate those sections unless enjoined.

                                  SECOND CLAIM FOR RELIEF
                       FRAUD IN THE OFFER OR SALE OF SECURITIES
              (Violation of Sections 17(a)(2) of the Securities Act by Wall and Wilson)

        115.      Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        116.      During the Relevant Period, the stock of Garmatex, Aureus and OneLife was each

a security under Section 2(a)(1) of the Securities Act [15 U.S.C. §77b(a)(1)].



                                                  33
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 34 of 40



        117.    By reason of the conduct described above, defendants Wall and Wilson, in

connection with the offer or sale of securities, by the use of the means or instrumentalities of

interstate commerce or of the mails, directly or indirectly, acting intentionally, knowingly,

recklessly or negligently obtained money or property by means of any untrue statement of a

material fact or any omission to state a material fact necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

        118.    By reason of the conduct described above, defendants Wall and Wilson violated

Securities Act Section 17(a)(2) [15 U.S.C. §77q(a)(2)] and will continue to violate that section

unless enjoined.

                              THIRD CLAIM FOR RELIEF
   FRAUD IN CONNECTION WITH THE PURCHASE OR SALE OF SECURITIES
(Violations of Section 10(b) of the Exchange Act and Rules 10b-5(a) and (c) thereunder by
                        Carrillo, Bahadoorsingh, Wall and Wilson)


        119.    Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        120.    During the Relevant Period, the stock of Garmatex, Aureus and OneLife was each

a security under Section 3(a)(1) of the Exchange Act [15 U.S.C. §78c(a)(10)].

        121.    By reason of the conduct described above, defendants Carrillo, Bahadoorsingh

Wall and Wilson, directly or indirectly, in connection with the purchase or sale of securities, by

the use of the means or instrumentalities of interstate commerce or of the mails, or of any facility

of any national securities exchange, intentionally, knowingly or recklessly (i) employed devices,

schemes, or artifices to defraud; and (ii) engaged in acts, practices, or courses of business which

operated or would operate as a fraud or deceit upon any persons, including purchasers or sellers

of the securities. By reason of the conduct described above, defendants Carrillo, Bahadoorsingh,



                                                 34
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 35 of 40



Wall and Wilson violated Exchange Act Section 10(b) [15 U.S.C. §78j(b)] and Rules 10b-5(a)

and (c) [17 C.F.R. §240.10b-5(a) and (c)] thereunder.

                             FOURTH CLAIM FOR RELIEF
   FRAUD IN CONNECTION WITH THE PURCHASE OR SALE OF SECURITIES
(Violation of Section 10(b) of the Exchange Act and Rule 10b-5(b) thereunder by Wall and
                                         Wilson)


        122.    Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        123.    During the Relevant Period, the stock of Garmatex, Aureus and OneLife was each

a security under Section 3(a)(1) of the Exchange Act [15 U.S.C. §78c(a)(10)].

        124.    By reason of the conduct described above, defendants Wall and Wilson, directly

or indirectly, in connection with the purchase or sale of securities, by the use of the means or

instrumentalities of interstate commerce or of the mails, or of any facility of any national

securities exchange, intentionally, knowingly or recklessly, made an untrue statement of material

fact or omitted to state a material fact necessary in order to make the statements made, in the

light of the circumstances under which they were made, not misleading.

        125.    By reason of the conduct described above, defendants Wall and Wilson violated

Exchange Act Section 10(b) [15 U.S.C. §78j(b)] and Rule 10b-5(b) [17 C.F.R. §240.10b-5(b)]

thereunder.

                               FIFTH CLAIM FOR RELIEF
                    UNREGISTERED OFFERINGS OF SECURITIES
 (Violations of Sections 5(a) and 5(c) of the Securities Act by Carrillo and Bahadoorsingh)


        126.    Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.




                                                 35
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 36 of 40



        127.    During the Relevant Period, the stock of Garmatex, Aureus and OneLife was each

a security under Section 2(a)(1) of the Securities Act [15 U.S.C. §77b(a)(1)].

        128.    By reason of the conduct described above, defendants Carrillo and

Bahadoorsingh, directly or indirectly: (a) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to sell, through the use or medium of a

prospectus or otherwise, securities as to which no registration statement has been in effect and

for which no exemption from registration has been available; and/or (b) made use of the means

or instruments of transportation or communication in interstate commerce or of the mails to offer

to sell, through the use or medium of a prospectus or otherwise, securities as to which no

registration statement has been filed and for which no exemption from registration has been

available.

        129.    As a result, defendants Carrillo and Bahadoorsingh violated Sections 5(a) and (c)

of the Securities Act [15 U.S.C. §§77e(a), (c)].

                                SIXTH CLAIM FOR RELIEF
              FAILURE TO REPORT OVER 5% BENEFICIAL OWNERSHIP
        (Violations of Sections 13(d) of the Exchange Act by Carrillo, Bahadoorsingh,
                                       Wilson and Wall)


        130.    Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        131.    During the Relevant Period, the stock of Aureus and OneLife was each a security

under Section 3(a)(1) of the Exchange Act [15 U.S.C. §78c(a)(10)].

        132.    During the Relevant Period, Aureus and OneLife had equity securities that were

registered pursuant to Section 12 of the Exchange Act [15 U.S.C. §78l].




                                                   36
         Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 37 of 40



        133.    By reason of the conduct described above, defendants Carrillo, Bahadoorsingh,

Wilson and Wall, after acquiring directly or indirectly beneficial ownership of more than 5

percent of a class of Aureus equity securities, failed to file a statement with the Commission

containing the information required by Schedule 13D [17 C.F.R. §240.13d-101] within ten days

after they acquired such shares, or at all.

        134.    By reason of the conduct described above, defendant Carrillo, after acquiring

directly or indirectly beneficial ownership of more than 5 percent of a class of OneLife equity

securities, failed to file a statement with the Commission containing the information required by

Schedule 13D [17 C.F.R. §240.13d-101] within ten days after he acquired such shares, or at all.

        135.    As a result, defendants Carrillo, Bahadoorsingh, Wilson and Wall violated

Section 13(d) of the Exchange Act [15 U.S.C. §78m(d)].

                     SEVENTH CLAIM FOR RELIEF
      OTHER EQUITABLE RELIEF, INCLUDING UNJUST ENRICHMENT AND
                        CONSTRUCTIVE TRUST
                       (against Relief Defendants)


        136.    Paragraphs 1 through 110 above are re-alleged and incorporated by reference as if

fully set forth herein.

        137.    Section 21(d)(5) of the Exchange Act [15 U.S.C. §78u(d)(5)] states “In any action

or proceeding brought or instituted by the Commission under any provision of the securities

laws, the Commission may seek, and any Federal court may grant, any equitable relief that may

be appropriate or necessary for the benefit of investors.”

        138.    The Relief Defendants have received investor funds derived from the unlawful

acts, practices and scheme of the Defendants under circumstances dictating that, in equity and

good conscience, they should not be allowed to retain such funds.



                                                 37
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 38 of 40



        139.   Further, specific property acquired or improved by the Relief Defendants is

traceable to Defendants’ wrongful acts, and there is no reason in equity why the Relief

Defendants should be entitled to retain that property.

        140.   As a result, the Relief Defendants are liable for unjust enrichment and should be

required to return their ill-gotten gains, in an amount to be determined by the Court. The Court

should also impose a constructive trust on property in the possession of the Relief Defendants

that is traceable to the Defendants’ wrongful acts.

                                    PRAYER FOR RELIEF

        WHEREFORE, the Commission respectfully requests that this Court:

        A.     Enter a permanent injunction restraining defendants Carrillo and Bahadoorsingh,

their agents, servants, employees and attorneys, and those persons in active concert or

participation with them who receive actual notice of the injunction by personal service or

otherwise, from violating Sections 5(a) and (c), and 17(a)(1) and (3) of the Securities Act [15

U.S.C. §§77e(a), (c); 77q(a)(1) and (3)], and Sections 10(b) and 13(d) of the Exchange Act [15

U.S.C. §§78j(b), 78m(d)] and Rules 10b-5(a) and (c) thereunder [17 C.F.R. §240.10b-5(a) and

(c)].

        B.     Enter a permanent injunction restraining defendants Wilson and Wall, their

agents, servants, employees and attorneys, and those persons in active concert or participation

with them who receive actual notice of the injunction by personal service or otherwise, from

violating Sections 17(a)(1), (2) and (3) of the Securities Act [15 U.S.C. §§77q(a)(1)-(3)], and

Sections 10(b) and 13(d) of the Exchange Act [15 U.S.C. §§78j(b), 78m(d)] and Rules 10b-5(a),

(b) and (c) thereunder [17 C.F.R. §240.10b-5(a)-(c)].




                                                38
        Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 39 of 40



       C.       Order the defendants to disgorge, with prejudgment interest, all ill-gotten gains

obtained by reason of the unlawful conduct alleged in this Complaint, pursuant to Section

21(d)(7) of the Exchange Act [15 U.S.C. §78u(d)(7)].

       D.      Order the defendants to pay civil monetary penalties pursuant to Section 20(d) of

the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.

§78u(d)(3)].

       E.      Enter an order barring defendants Bahadoorsingh, Wall and Wilson from

participating in any offering of a penny stock, pursuant to Section 20(g) of the Securities Act [15

U.S.C. §77t(g)] and 21(d) of the Exchange Act [15 U.S.C. §78u(d)].

       F.      Order the Relief Defendants to disgorge, with prejudgment interest, all ill-gotten

gains obtained by reason of the unlawful conduct alleged in the Complaint;

       G.      Retain jurisdiction over this action to implement and carry out the terms of all

orders and decrees that may be entered; and

       H.      Grant such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

       The Commission demands a jury in this matter for all claims so triable.

DATED: August 4, 2021                         Respectfully submitted,

                                              /s/ Kathleen B. Shields____________
                                              Kathleen B. Shields (Mass Bar No. 637438)
                                              Eric A. Forni (Mass Bar No. 669685)
                                              Susan Anderson (DC Bar No. 978173)
                                              Amy Gwiazda (Mass Bar No. 663494)
                                              SECURITIES AND EXCHANGE COMMISSION
                                              Boston Regional Office
                                              33 Arch St., 24th Floor
                                              Boston, MA 02110
                                              Phone: (617) 573-8904 (Shields direct),
                                              (617) 573-8827 (Forni direct)
                                              (617) 573-4538 (Anderson direct)
                                              Fax: (617) 573-4590 (fax)

                                                39
Case 1:21-cv-11272-WGY Document 1 Filed 08/04/21 Page 40 of 40



                            ShieldsKa@sec.gov (Shields email)
                            ForniE@sec.gov (Forni email)
                            AndersonSu@sec.gov (Anderson email)




                              40
